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                           IN THE UNITED STATES DISTRICT COURT

                           FOR THE SOUTHERN DISTRICT OF TEXAS

                                       HOUSTON DIVISION

JUAN JOSE HARO                                    §
                                                  §
V.                                                § CIVIL ACTION NO. H-24-4466
                                                  §
EQUISOLAR, INC., ET AL.                           §

                           NOTICE OF CANCELLATION
       This case has been CANCELLED for the following before Senior United States
District Judge Sim Lake until further notice:

                  INITIAL PRETRIAL AND SCHEDULING CONFERENCE

Date:          January 3, 2025

Time:          2:00 p.m.

Place:         515 Rusk
               Courtroom 9-B, 9th Floor
               Houston, Texas

To:            All Parties of Record


For inquiries regarding the above setting please contact:

Sheila R. Anderson,
Case Manager for
Senior United States District Judge Sim Lake

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December 26, 2024
